                          Case 19-12187-BFK       Doc 13     Filed 08/30/19 Entered 08/30/19 16:27:50            Desc Main
                                                            Document      Page 1 of 27


                                                    IN THE UNITED STATES BANKRUPTCY COURT
                                                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                                              ALEXANDRIA DIVISION
                                In re:
                                KOBY HAGHAH KAVOSI,                                        CHAPTER 7
                                                DEBTOR.                                    CASE NO. 19-12187-BFK
                                SPECIALIZED LOAN SERVICING LLC, AS
                                SERVICING AGENT FOR THE BANK OF NEW
                                YORK MELLON F/K/A THE BANK OF NEW YORK
                                AS SUCCESSOR INDENTURE TRUSTEE TO
                                JPMORGAN CHASE BANK, NATIONAL
                                ASSOCIATION FOR CWHEQ REVOLVING HOME
                                EQUITY LOAN TRUST, SERIES 2005-J,
                                           MOVANT,
                                vs.
                                KOBY HAGHAH KAVOSI
                                and DONALD F. KING, TRUSTEE,
                                                RESPONDENTS.
                                                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                                 (REAL PROPERTY LOCATED AT 916 BUTTONWOOD TERRACE, LEESBURG, VA 20176)
                                                                           NOTICE

                                YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS CAREFULLY AND DISCUSS THEM WITH
                                YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. (IF YOU DO NOT HAVE AN ATTORNEY, YOU
                                MAY WISH TO CONSULT ONE.)

                                TO:      KOBY HAGHAH KAVOSI, DEBTOR
                                         DONALD F. KING, TRUSTEE

                                IF YOU DO NOT WISH THE COURT TO GRANT THE RELIEF SOUGHT IN THE MOTION, OR IF YOU WANT THE
                                COURT TO CONSIDER YOUR VIEWS ON THE MOTION, THEN WITHINFOURTEEN (14) DAYS FROM THE DATE OF
                                SERVICE OF THIS MOTION, YOU MUST FILE A WRITTEN RESPONSE EXPLAINING YOUR POSITION WITH THE
                                COURT AND SERVE A COPY ON THE MOVANT. UNLESS A WRITTEN RESPONSE IS FILED AND SERVED WITHIN
                                THIS FOURTEEN (14) DAY PERIOD, THE COURT MAY DEEM OPPOSITION WAIVED, TREAT THE MOTION AS
                                CONCEDED, AND ISSUE AN ORDER GRANTING THE REQUESTED RELIEF WITHOUT FURTHER NOTICE OR
                                HEARING.

                                IF YOU MAIL YOUR RESPONSE TO THE COURT FOR FILING, YOU MUST MAIL IT EARLY ENOUGH SO THE COURT
                                WILL RECEIVE IT ON OR BEFORE THE EXPIRATION OF THE FOURTEEN (14) DAY PERIOD.

                                THE PRELIMINARY HEARING IS SCHEDULED TO BE HELD ON SEPTEMBER 25,
                                2019 AT 9:30 AM IN THE U.S. BANKRUPTCY COURT, ALEXANDRIA DIVISION, 200
                                S. WASHINGTON STREET, ALEXANDRIA, VA 22314, COURTROOM I, 2ND FLOOR.
                                         Specialized Loan Servicing LLC, as servicing agent for The Bank of New York Mellon
                                f/k/a The Bank of New York as successor Indenture Trustee to JPMorgan Chase Bank, National
                                Association for CWHEQ Revolving Home Equity Loan Trust, Series 2005-J (“Movant”) hereby
Nisha R. Patel, Esquire
Counsel for Movant
Samuel I White, P.C.
Bar No. 83302
1804 Staples Mill Road
Suite 200
Richmond, VA 23230
(804) 290-4290
File No. 72126
Case 19-12187-BFK        Doc 13        Filed 08/30/19 Entered 08/30/19 16:27:50              Desc Main
                                      Document      Page 2 of 27


      moves this Court, pursuant to 11 U.S.C. §362, for relief from the automatic stay with respect to
      certain real property of the Debtor having an address of 916 Buttonwood Terrace, Leesburg,
      VA 20176 (the “Property”), for all purposes allowed by the Agreement (defined below), the Deed
      of Trust (defined below),and applicable law, including but not limited to the right to foreclose. In
      further support of this Motion, Movant respectfully states:
              1.      This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §157 and
      §1334 and 11 U.S.C. §362(d), and this matter is a core proceeding.
              2.      A petition under Chapter 7 of the United States Bankruptcy Code was filed with
      respect to the Debtor on July 2, 2019.
              3.      The Debtor has executed and delivered or is otherwise obligated with respect to
      that certain Home Equity Credit Line Agreement and Disclosure Statement in the original credit
      limit amount of $44,400.00 (the “Agreement”). A copy of the Agreement is attached hereto as
      Exhibit A.
              4.      Pursuant to that certain Credit Line Deed of Trust (the “Deed of Trust”), all
      obligations (collectively, the “Obligations”) of the Debtor under and with respect to the Agreement
      and the Deed of Trust are secured by the Property and the other collateral described in the Deed
      of Trust. The lien created by the Deed of Trust was perfected by recording of the Deed of Trust in
      the office of the Clerk of the County of Loudoun, Virginia. A copy of the recorded Deed of Trust is
      attached hereto as Exhibit B.
              5.      The legal description of the Property is:
                      LOT 856, SECTION 10, POTOMAC CROSSING, AS THE SAME
                      APPEARS DULY DEDICATED, PLATTED AND RECORDED IN DEED
                      BOOK 2299, AT PAGE 1769, AMONG THE LAND RECORDS OF
                      LOUDOUN COUNTY, VIRGINIA.

              6.      The Debtor’s Statement of Intention indicates the Property is to be surrendered.
              7.      Specialized Loan Servicing LLC services the loan on the Property referenced in
      this Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or
      the Debtor obtains a discharge and a foreclosure action is commenced on the mortgaged
      property, the foreclosure will be conducted in the name of Movant or Movant’s successor or
      assignee. Movant, directly or through an agent, has possession of the Note. The Note is either
      made payable to Movant or has been duly endorsed.             Movant is the original mortgagee or
      beneficiary or the assignee of the Mortgage/Deed of Trust.
              8.      As of August 29, 2019, the unpaid principal balance due is $44,109.20 and the
      approximate outstanding amount of Obligations less any partial payments or suspense balance is
      $73,799.24.
              9.      The following chart sets forth the number and amount of payments due pursuant
      to the terms of the Agreement as of August 29, 2019:
        Number of              From              To                 Monthly Payment     Total Payments
        Payments                                                    Amount
Case 19-12187-BFK            Doc 13      Filed 08/30/19 Entered 08/30/19 16:27:50                    Desc Main
                                        Document      Page 3 of 27


        46                   02/25/2012              11/25/2015       $300.63                $13,828.98
        45                   12/25/2015              08/25/2019       $424.91                $19,120.95
        Less partial payments:                                                               ($0.00)
                                                                                    Total:   $32,949.93

              10.          As of August 29, 2019, the total arrearage/delinquency is $35,422.63, consisting
      of (i) the foregoing total of payments in the amount of $32,949.93 plus (ii) the following fees:
        Fee Description                                               Amount
        Recording Costs                                               $26.00
        Inspection Fee                                                $105.00
        Service Costs                                                 $426.70
        Title Policy Costs                                            $430.00
        Foreclosure Attorney Fees                                     $1,485.00

              11.          The estimated value of the Property is $405,000.00. The basis for such valuation
      is the Debtor's Schedule A/B, a copy of which is attached hereto as Exhibit C.
              12.          Cause exists for relief from the automatic stay for the following reasons:
                     i.            Movant’s interest in the Property is not adequately protected.
                     ii.           Pursuant to 11 U.S.C. §362(d)(2)(A), the Debtor has no equity in the
                                   Property, as the Debtor’s Schedules reflect additional liens of
                                   approximately $354,375.00 against the Property; and pursuant to
                                   §362(d)(2)(B), the Property is not necessary for an effective
                                   reorganization.
              WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the
      stay and granting the following:
              1.           Relief from the stay for all purposes allowed by applicable law, the Agreement,
      and the Deed of Trust, including but not limited to allowing Movant to proceed under applicable
      non-bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the
      Property and any and all other collateral pledged under the Deed of Trust;
Case 19-12187-BFK        Doc 13     Filed 08/30/19 Entered 08/30/19 16:27:50                 Desc Main
                                   Document      Page 4 of 27


              2.      Waiver of the 14-day stay described by Bankruptcy Rule 4001(a)(3); and
              3.      For such other relief as the Court deems proper.


              Dated: August 30, 2019
                                                      SPECIALIZED LOAN SERVICING LLC, AS
                                                      SERVICING AGENT FOR THE BANK OF NEW
                                                      YORK MELLON F/K/A THE BANK OF NEW
                                                      YORK AS SUCCESSOR INDENTURE TRUSTEE
                                                      TO JPMORGAN CHASE BANK, NATIONAL
                                                      ASSOCIATION FOR CWHEQ REVOLVING
                                                      HOME EQUITY LOAN TRUST, SERIES 2005-J

                                                      By: /s/ Nisha R. Patel
                                                      Eric D. White, Esquire, Bar No. 21346
                                                      Michael T. Freeman, Esquire, Bar No. 65460
                                                      Brandon R. Jordan, Esquire, Bar No. 72170
                                                      Johnie R. Muncy, Esquire, Bar No. 73248
                                                      Nisha R. Patel, Esquire, Bar No. 83302
                                                      Samuel I. White, P.C.
                                                      1804 Staples Mill Road
                                                      Suite 200
                                                      Richmond, VA 23230
                                                      Tel.: (804) 290-4290
                                                      Fax: (804) 290-4298
                                                      npatel@siwpc.com


                                       CERTIFICATE OF SERVICE

               I certify that on August 30, 2019, the foregoing Notice and Motion was served via CM/ECF
      on Donald F. King, Trustee, and Ann E. Schmitt, Counsel for Debtor, at the email addresses
      registered with the Court, and that a true copy was mailed via first class mail, postage prepaid, to
      Koby Haghah Kavosi, Debtor, 916 Buttonwood Terrace, Leesburg, VA 20176.

                                                      /s/ Nisha R. Patel
                                                      Nisha R. Patel, Esquire
                                                      Samuel I. White, P. C.
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document      Page 5 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document      Page 6 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document      Page 7 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document      Page 8 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document      Page 9 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 10 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 11 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 12 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 13 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 14 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 15 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 16 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 17 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 18 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 19 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 20 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 21 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 22 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 23 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 24 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 25 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 26 of 27
Case 19-12187-BFK   Doc 13    Filed 08/30/19 Entered 08/30/19 16:27:50   Desc Main
                             Document     Page 27 of 27
